                       UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

In The Matter Of:                              )
                                               )
Carla A. Lartedale                             )   Case Number: 23-44030-659
   Debtor                                      )
                                               )
Wilmington Savings Fund Society, FSB,          )   Chapter 13
D/B/A Christiana Trust, Not Individually       )
but as Trustee for Pretium Mortgage            )   Motion to Lift Stay filed by
Acquisition Trust                              )   Wilmington Savings Fund Society, FSB,
   Movant                                      )   D/B/A Christiana Trust, Not Individually but
                                               )   as Trustee for Pretium Mortgage Acquisition
vs.                                            )   Trust
                                               )
Carla A. Lartedale                             )
   Debtor                                      )   Millsap & Singer, LLC
                                               )   612 Spirit Drive
Fidell Lartedale                               )   St. Louis, MO 63005
    Co-Debtor                                  )   (636) 537-0110
                                               )
and                                            )   Hearing Date: February 5, 2024
                                               )   Hearing Time: 10:00 AM
Diana S. Daugherty                             )   Objection Deadline: January 29, 2024
   Trustee                                     )
                                               )
      Respondents                              )

                             NOTICE OF HEARING AND
                    MOTION FOR RELIEF FROM AUTOMATIC STAY,
                        RELIEF FROM CO-DEBTOR STAY, OR
                         IN THE ALTERNATIVE, TO DISMISS

WARNING: THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY
AFFECT YOU. IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY
CONTACT THE MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU AND
THE MOVING PARTY CANNOT AGREE, YOU MUST FILE A RESPONSE AND
SEND A COPY TO THE MOVING PARTY. YOU MUST FILE AND SERVE YOUR
RESPONSE BY JANUARY 29, 2024. YOUR RESPONSE MUST STATE WHY
THE MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY
RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT FURTHER NOTICE TO
YOU.
IF YOU OPPOSE THE MOTION AND HAVE NOT REACHED AN AGREEMENT,
YOU MUST ATTEND THE HEARING. THE DATE IS SET OUT ABOVE. UNLESS

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THE PARTIES AGREE OTHERWISE, THE COURT MAY CONSIDER EVIDENCE
AT THE HEARING AND MAY DECIDE THE MOTION AT THE HEARING.
REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEYS. THE
HEARING TO BE HELD ON THE DATE AND TIME ABOVE BEFORE THE
HONORABLE KATHY A. SURRATT-STATES, IN THE UNITED STATES
BANKRUPTCY COURT, EASTERN DISTRICT OF MISSOURI, THOMAS F.
EAGLETON U.S. COURTHOUSE, 111 SOUTH TENTH STREET, FLOOR 7,
NORTH COURTROOM, ST. LOUIS, MO 63102.

       COMES NOW, Wilmington Savings Fund Society, FSB, D/B/A Christiana Trust,

Not Individually but as Trustee for Pretium Mortgage Acquisition Trust and for its Motion

for Relief from Automatic Stay, Relief from Co-Debtor Stay, or, in the Alternative, to

Dismiss states as follows:

       1.     On November 7, 2023, Debtor filed a Petition under Chapter 13 of the

Bankruptcy Code. Diana S. Daugherty is the duly appointed and qualified Trustee in

this case.

       2.     Wilmington Savings Fund Society, FSB, D/B/A Christiana Trust, Not

Individually but as Trustee for Pretium Mortgage Acquisition Trust is the holder of a

secured claim in this proceeding by virtue of one Promissory Note dated August 20,

2007 in the original principal amount of $85,000.00. A copy of said Note has been

electronically attached to this document as Exhibit A and is made a part hereof by this

reference.

       3.     Said Note is secured by a Deed of Trust dated August 20, 2007 and

recorded as in Book 17654 at Page 615 modified by Loan Modification Agreement

recorded June 19, 2015 in Book 21558 at Page 105 and further modified Loan

Modification Agreement recorded November 12, 2021 in Book 25216 at Page 5201

constituting a first lien on real estate owned by the Debtor.        Said property being



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commonly known as 7756 Mallard Dr, Saint Louis, MO 63133; more particularly

described as follows:

      LOT 3 IN BLOCK 1 HANLEY HILLS FIRST ADDITION, A SUBDIVISION IN
      SAINT LOUIS COUNTY, MISSOURI, AS PER PLAT THEREOF
      RECORDED IN PLAT BOOK 45 PAGE 25 OF SAINT LOUIS COUNTY
      RECORDS. EXCEPTING THEREFROM THAT PART CONVEYED TO
      THE STATE OF MISSOURI BY DEED RECORDED IN BOOK 7249 PAGE
      1195.


A copy of said Deed of Trust, which is recorded in the St. Louis County Recorder of

Deeds Office, has been electronically attached to this document as Exhibit B and is

made a part hereof by this reference.

       4.     Movant seeks to enforce said Note and Deed of Trust as by law allowed.

No creditor or Trustee of the estate has any interest in said realty superior to the rights

of Movant.

       5.     This Court previously entered its Order pursuant to 11 U.S.C. Section

362(a) and 1301(a) prohibiting, among other things, any act to enforce any lien against

the property of the estate and any act to obtain possession of property of the estate.

       6.     As of November 13, 2023, the current pay off on said note is as follows:

              Principal                                      $56,055.89
              Interest                                        $1,642.88
              Escrow                                          $1,646.21
              Recoverable Balance                             $3,682.32
              Deferred Principle                             $72,326.33
              Total - Fees                                       $24.00

              Total Pay Off                                 $135,377.63

       7.     The Chapter 13 Plan filed by the Debtor calls for treatment of the secured

claim with payments being made by the Debtor. Monthly post petition payments are




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owing and delinquent from December 1, 2023 to the present. The following are the

payments that are delinquent as of January 4, 2024:

             2 payments @ $586.25                             $1,172.50

             Total Arrearages                                 $1,172.50

The next payment under the terms of the Note will come due on February 1, 2024 and

is in the amount of $586.25. A post-petition payment history has been electronically

attached to this document as Exhibit C and is made a part hereof by this reference.

      8.     In addition to the other amounts due to Movant reflected in this Motion, as

of the date hereof, in connection with seeking the relief requested in this Motion, Movant

has also incurred attorney fees in the amount of $600.00 and costs in the amount of

$199.00. Movant reserves all rights to seek an award or allowance of such fees and

expenses in accordance with applicable loan documents and related agreements, the

Bankruptcy Code and otherwise applicable law.

      9.     The aforesaid realty has depreciated in value while in possession of the

Debtor. There is no equity in said property for the benefit of the bankruptcy estate.

Such property is not necessary for an effective reorganization.

      10.    Good and sufficient cause exists in this case to modify the automatic stay

of Section 362 for the reason that:

             (a)    Post-petition payments to Wilmington Savings Fund Society, FSB,

D/B/A Christiana Trust, Not Individually but as Trustee for Pretium Mortgage Acquisition

Trust have not been paid by the Debtor.




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               (b)    Wilmington Savings Fund Society, FSB, D/B/A Christiana Trust,

Not Individually but as Trustee for Pretium Mortgage Acquisition Trust does not have

adequate protection for its interest in said real estate.

               (c)    If Wilmington Savings Fund Society, FSB, D/B/A Christiana Trust,

Not Individually but as Trustee for Pretium Mortgage Acquisition Trust is not permitted

to foreclose its security interest in said real estate, it will suffer irreparable injury, loss

and damage.

               (d)    The Chapter 13 plan with respect to Wilmington Savings Fund

Society, FSB, D/B/A Christiana Trust, Not Individually but as Trustee for Pretium

Mortgage Acquisition Trust was not proposed in good faith as required by 11 U.S.C.

Section 1325(a)(3) notwithstanding confirmation by the Court.

               11.    Movant specifically requests permission from this Honorable Court

to communicate with Debtor and Counsel for Debtor to the extent provided for under

applicable nonbankruptcy law to discuss loss mitigation options including alternatives to

foreclosure.

       WHEREFORE, Movant prays that this Court terminate the automatic stay and

co-debtor stay in regard to the realty in order to permit Movant, or its successors and

assigns to proceed with foreclosure on the aforesaid property to pursue its remedies

under state law in connection with the aforesaid Deed of Trust and Note, and to pursue

its remedies under state law for possession of said property after foreclosure, to

proceed with any foreclosure alternatives and for an order that the relief from the

automatic stay is not stayed pursuant to Rule 4001 for fourteen (14) days. In the

alternative, Movant prays that this Court dismiss this case for failure to abide by the


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terms and conditions of the Chapter 13 plan, and for such other relief as is appropriate

and just.



Dated January 9, 2024

                                             Respectfully Submitted:
                                             Millsap & Singer, LLC

                                             /s/ Pamela B. Leonard
                                             Cynthia M. Kern Woolverton, #47698, #47698MO
                                             Eva Marie Kozeny, #40448, #40448MO
                                             Adam G. Breeze, #60920, #60920MO
                                             William R. Avery, #68985, #68985MO
                                             James Eric Todd, #64199, #64199MO
                                             Pamela B. Leonard, #37027, #37027MO
                                             612 Spirit Drive
                                             St. Louis, MO 63005
                                             Telephone: (636) 537-0110
                                             Facsimile: (636) 537-0067
                                             bkty@msfirm.com

                                             Attorneys for Wilmington Savings Fund Society,
                                             FSB, D/B/A Christiana Trust, Not Individually but
                                             as Trustee for Pretium Mortgage Acquisition Trust




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                       UNITED STATES BANKRUPTCY COURT
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In The Matter Of:                              )
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Carla A. Lartedale                             )    Case Number: 23-44030-659
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   Debtor                                      )
                                               )    Chapter 13
Wilmington Savings Fund Society, FSB,          )
D/B/A Christiana Trust, Not Individually       )
but as Trustee for Pretium Mortgage            )
Acquisition Trust                              )
                                               )
   Movant,                                     )

                               SUMMARY OF EXHIBITS

The following exhibits in reference to the Motion for Relief and Motion for Relief from
Co-Debtor Stay have been electronically attached as Exhibits and are available upon
request in their entirety.

             A.      Note
             B.      Deed of Trust
             C.      Post Petition Payment History

                                               Respectfully Submitted:
                                               Millsap & Singer, LLC

                                               /s/ Pamela B. Leonard
                                               Cynthia M. Kern Woolverton, #47698, #47698MO
                                               Eva Marie Kozeny, #40448, #40448MO
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                                               612 Spirit Drive
                                               St. Louis, MO 63005
                                               Telephone: (636) 537-0110
                                               Facsimile: (636) 537-0067
                                               bkty@msfirm.com

                                               Attorneys for Wilmington Savings Fund Society,
                                               FSB, D/B/A Christiana Trust, Not Individually but
                                               as Trustee for Pretium Mortgage Acquisition Trust

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                               CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing document was filed
electronically on January 9, 2024, with the United States Bankruptcy Court, and has
been served on the parties in interest via e-mail by the Court pursuant to CM/ECF as
set out on the Notice of Electronic filing as issued by the Court or in the alternative has
been served by depositing a true and correct copy of same enclosed in a postage
prepaid, properly addressed envelope, in a post office official depository under the
exclusive care and custody of the United States Postal Service on those parties directed
by the Court on the Notice of Electronic Filing issued by the Court as required by the
Federal Rules of Bankruptcy Procedure and the Local Rules of the United States
Bankruptcy Court.

                                            /s/ Pamela B. Leonard

Electronic Mail Notice List

The following is the list of attorneys who are currently on the list to receive e-mail
notices for this case.

       Timothy Patrick Powderly

       Diana S. Daugherty

       Office of the United States Trustee

Manual Notice List

The following is a list of parties who are not on the list to receive e-mail notices for this
case (who therefore require manual noticing).

       Carla A. Lartedale
       7756 Mallard Dr.
       Saint Louis, MO 63133

       Fidell Lartedale
       7756 Mallard Dr.
       Saint Louis, MO 63133

       MSD
       2350 Market Street
       St. Louis, MO 63103-2555




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